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                                   United States District Court
                                  Southern District of New York

Virginia L. Giuffre,

                 Plaintiff,                    Case No.: 15-cv-07433-RWS

v.

Ghislaine Maxwell,

             Defendant.
______________________________/

      REDACTED DECLARATION OF SIGRID S. McCAWLEY IN SUPPORT OF
         PLAINTIFF’S MOTION TO COMPEL DEFENDANT TO ANSWER
               DEPOSITION QUESTIONS FILED UNDER SEAL

         I, Sigrid S. McCawley, declare that the below is true and correct to the best of my

knowledge as follows:

         1.      I am a partner with the law firm of Boies, Schiller & Flexner LLP and duly

 licensed to practice in Florida and before this Court pursuant to this Court’s September 29, 2015

 Order granting my Application to Appear Pro Hac Vice.

         2.      I respectfully submit this Declaration in support of Plaintiff’s Motion to Compel

 Defendant To Answer Deposition Questions Filed Under Seal.

         3.      Attached hereto as Exhibit 1, is a true and correct copy of page 21 of Defendant

 Maxwell’s April 22, 2016 Deposition transcript.

         4.      Attached hereto as Exhibit 2, are true and correct copies of pages 19-22 of

 Defendant Maxwell’s April 22, 2016 Deposition transcript.
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          5.      Attached hereto as Exhibit 3, is a true and correct copy of the Palm Beach police

report.

          6.      Attached hereto as Exhibit 4, are true and correct copies of pages 60-62 of

Defendant Maxwell’s April 22, 2016 Deposition transcript.

          7.      Attached hereto as Exhibit 5, is a true and correct copy of page 82 of Defendant

Maxwell’s April 22, 2016 Deposition transcript.

          8.      Attached hereto as Composite Exhibit 6, are true and correct copies of pages 52-

55; 64-65; 82; 92-93; 137-38; 307-09 of Defendant Maxwell’s April 22, 2016 Deposition

transcript.

          9.      Attached hereto as Exhibit 7, is a true and correct copy of page 51 of Defendant

Maxwell’s April 22, 2016 Deposition transcript.


          I declare under penalty of perjury that the foregoing is true and correct.



                                                         /s/ Sigrid S. McCawley ____
                                                         Sigrid S. McCawley, Esq.
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Dated: May 5, 2016.

                                   Respectfully Submitted,

                                   BOIES, SCHILLER & FLEXNER LLP

                                By: /s/ Sigrid McCawley
                                     Sigrid McCawley (Pro Hac Vice)
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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on May 5, 2016, I electronically filed the foregoing document

with the Clerk of Court by using the CM/ECF system. I also certify that the foregoing document

is being served this day on the individuals identified below via transmission of Notices of

Electronic Filing generated by CM/ECF.


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                                                         /s/ Sigrid S. McCawley
                                                         Sigrid S. McCawley, Esq.
